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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      :
In re:                                                :           Chapter 11
                                                      :
BOY SCOUTS OF AMERICA AND                             :           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC1                                    :
                                                      :           (Jointly Administered)
                            Debtors                   :

                             NOTICE OF APPEARANCE AND REQUEST
                               FOR ALL NOTICES AND PLEADINGS

         Please enter my appearance as attorney for Century Indemnity Company, as successor to

CCI Insurance Company, as successor to Insurance Company of North America and Indemnity

Insurance Company of North America, Ace Insurance Group Westchester Fire Insurance

Company and Westchester Surplus Lines Insurance Company parties-in interest in the above-

captioned matter.

         Pursuant to Bankruptcy Rules 2002(g), 2015(c), and 3017(a), the undersigned requests

that he receive copies of all notices, reports, motions, briefs, memoranda, pleadings, proposed

plan, disclosure statements, proposed orders, and any other documents filed in the above-

referenced matter. All such documents should be served upon the following:

                           Stamatios Stamoulis, Esq.
                           Stamoulis & Weinblatt LLC
                           800 N. West Street, Suite 800
                           Wilmington, Delaware 19801
                           stamoulis@swdelaw.com




1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                              -- and --

                              Tancred Schiavoni, Esq.
                              O’MELVENY & MYERS LLP
                              Times Square Tower
                              7 Times Square
                              New York, New York 10036-6537

        PLEASE TAKE FURTHER NOTICE that the foregoing demand includes notices of

applications, motions, petitions, and pleadings, whether formal or informal, whether written or

oral, and whether transmitted or conveyed by hand delivery, telephone, telephone, telex,

telecopy, facsimile or otherwise, which affects the Debtors or the property of the Debtors.

        Dated at Wilmington, DE, this 8th day of April 2020.

                                             By: /s/ Stamatios Stamoulis
                                                Stamatios Stamoulis (#4606)
                                                Stamoulis & Weinblatt LLC
                                                800 N. West Street, Suite 800
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 999-1540
                                                stamoulis@swdelaw.com


                                             Counsel for Century Imdemnity Company, as
                                             successor to CCI Insurance Company, as successor
                                             to Insurance Company of North America and
                                             Indemnity Insurance Company of North America,
                                             Ace Insurance Group Westchester Fire Insurance
                                             Company and Westchester Surplus Lines Insurance
                                             Company




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on April 8, 2020, a copy of foregoing Notice of Appearance

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing

system or by First Class mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


                                                                     /s/ Stamatios Stamoulis
                                                                     Stamatios Stamoulis




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